       Case 3:07-cr-00634-JAJ-TJS Document 101 Filed 06/01/09 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )   Criminal No. 3:07-cr-634
                                                )
       v.                                       )
                                                )   ENHANCEMENT INFORMATION
CHRISTOPHER JAMES MCGEE,                        )   AND NOTICE OF PRIOR
                                                )   CONVICTION(S)
       Defendant.                               )




       COMES NOW the United States of America, by and through the undersigned Special

Assistant United States Attorney, pursuant to Title 21, United States Code, Section 851(a)(1),

and hereby notifies defendant, CHRISTOPHER JAMES MCGEE, that he is subject to an

increased penalty pursuant to Title 21, United States Code, Sections 846 and 841(b)(1)(A),

because of one or more prior felony drug convictions, to wit:



       1. On or about April 12, 2002, Defendant was sentenced for a drug felony in the Circuit

Court of Cook County, Illinois, in case number 02CR692801, Manufacture/Deliver 01-15 grams

of cocaine. Defendant was sentenced to 5 years imprisonment.



       2. On or about July 17, 2001, Defendant was sentenced for a drug felony in the Circuit

Court of Cook County, Illinois, in case number 00CR28608, Delivery of a Controlled Substance.

Defendant was sentenced to 24 months probation.
       Case 3:07-cr-00634-JAJ-TJS Document 101 Filed 06/01/09 Page 2 of 2




                                                     Respectfully Submitted,

                                                     Matthew G. Whitaker
                                                     United States Attorney


                                               By /s/ Melisa Zaehringer
                                                  Melisa Zaehringer
                                                  Special Assistant United States Attorney
                                                  United States Courthouse, Ste 310
                                                  131 E. 4th Street
                                                  Davenport, Iowa 52801
                                                  Tel: (563) 449-5432
                                                  Fax: (563) 449-5433
                                                  Email: Melisa.Zaehringer@usdoj.gov




                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon all counsel of
record and pro se parties by electronic service by filing this document with the Clerk of Court
using the ECF system on June 1, 2009, which will send notification to the following:

                      James Clements


                                                     /s/ Melisa Zaehringer
                                                     United States Attorney’s Office
                                                     Southern District of Iowa
